Case 4:24-cv-00461-O     Document 37   Filed 06/28/24   Page 1 of 4   PageID 829



                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION


CARROLL INDEPENDENT SCHOOL
DISTRICT,

           Plaintiff,                      Case No. 4:24-cv-00461-O

      v.

UNITED STATES DEPARTMENT OF
EDUCATION; ET AL.,

           Defendants.



   APPENDIX IN SUPPORT OF CARROLL INDEPENDENT SCHOOL
 DISTRICT’S REPLY IN SUPPORT OF MOTION TO DELAY EFFECTIVE
           DATE AND FOR PRELIMINARY INJUNCTION

Declaration of Lane Ledbetter, dated June 28, 2024                App.476–477




                                       1
Case 4:24-cv-00461-O    Document 37     Filed 06/28/24   Page 2 of 4   PageID 830



                         CERTIFICATE OF SERVICE

      I certify that on June 28th, 2024, this document was served on all counsel of

record via the Court’s CM/ECF system.
                                     /s/ Mathew W. Hoffmann
                                     Mathew W. Hoffmann
                                     Counsel for Plaintiff Carroll ISD




                                        2
 Case 4:24-cv-00461-O       Document 37     Filed 06/28/24    Page 3 of 4     PageID 831


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

 Carroll Independent School
 District,
                                                     Case No. 4:24-cv-00491-O
              Plaintiff,

         V.


 United States Department of
 Education, et al.,

              Defendants.


                           DECLARATION OF LANE LEDBETI'ER

        I, Lane Ledbetter, declare as follows:

        1.    I am above the age of 21 , and fully competent to make this declaration.
        2.    These facts are within my personal knowledge and are true and correct.
1f called to testify, I could and would testify competently to these facts.
        3.    I am Superintendent of Carroll Independent School District (Carroll
ISD).
        4.    Carroll ISD students travel outside of Texas for athletic competitions,
debate tolll·naments, and color guard tournaments.
        5.    For the 2024-25 school year, Carroll !SD students plan to travel to:
              a.     Ohio for a color guard tournament;
              b.     Florida, Georgia, Kentucky, and Iowa for debate totu-naments;
                     and
              c.     California and Oregon for cross country meets.
        6.    During those events, Carroll ISD students will have to use restrooms,
locker and changing rooms, and shower facilities outside of Texas.


                                            1
                                                                                App.476
Case 4:24-cv-00461-O   Document 37   Filed 06/28/24   Page 4 of 4   PageID 832
